     Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 1 of 9 Page ID #:34
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 1                                                                                County of Los Angeles

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                             SUPERIOR COURT OF THE ST ATE OF CALIFORNIA
 6
                                     FOR THE COUNTY OF LOS ANGELES
 7

 8    IN RE LOS ANGELES SUPERIOR COURT )                  FIRST AMENDED GENERAL ORDER
      - MANDATORY ELECTRONIC FILING )
 9    ffiROVIL                         )
                                                      )
10                                                    )
      ________________                                )
11

12            On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

13     documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

15     Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16     All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17     following:

18     1) DEFINITIONS

19        a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

20            quickly locate and navigate to a designated point of interest within a document.

21        b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling

22            portal, that gives litigants access to the approved Electronic Filing Service Providers.

23        c) "Electronic Envelope" A transaction through the electronic service provider for submission

24            of documents to the Court for processing which may contain one or more PDF documents

25            attached.

26        d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27            document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28
                                                                                             Exhibit A – Page 33
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 2 of 9 Page ID #:35
                                                                                                   2019-GEN-O 14-00




 1       e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a

 2            person or entity that receives an electronic filing from a party for retransmission to the Court.
 3            In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an

 4            agent of the Court. (California Rules of Court, rule 2.250(b)(8).)

 5       f)   "Electronic Signature" For purposes of these local rules and in conformity with Code of

 6            Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
 7            (b )(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

 8            2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

 9            process attached to or logically associated with an electronic record and executed or adopted

10            by a person with the intent to sign the electronic record.
11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place

12            in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,

14            formatting, colors and graphics of the original source document, regardless of the application
15            platform used.

16     2) MANDATORY ELECTRONIC FILING

17       a) Trial Court Records

18            Pursuant to Government Code section 68150, trial court records may be created, maintained,

19            and preserved in electronic format. Any document that the Court receives electronically must

20            be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21            official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b )(6)).

22       b) Represented Litigants

23            Pursuant to California Rules of Court, rule 2.253(b ), represented litigants are required to

24            electronically file documents with the Court through an approved EFSP.
25       c) Public Notice

26            The Court has issued a Public Notice with effective dates the Court required parties to
27            electronically file documents through one or more approved EFSPs. Public Notices containing

28            effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.
                                                                                             Exhibit A – Page 34
                                                               2
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 3 of 9 Page ID #:36
                                                                                                   2019-GEN-014-00




 1         d) Documents in Related Cases

 2            Documents in related cases must be electronically filed in the eFiling portal for that case type if

 3            electronic filing has been implemented in that case type, regardless of whether the case has

 4            been related to a Civil case.

 5    3) EXEMPT LITIGANTS

 6         a) Pursuant to California Rules of Court, rule 2.253(b )(2), self-represented litigants are exempt

 7            from mandatory electronic filing requirements.

 8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

 9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused

10            from filing documents electronically and be permitted to file documents by conventional

11            means if the party shows undue hardship or significant prejudice.

12    4) EXEMPT FILINGS

13         a) The following documents shall not be filed electronically:

14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of

15                   Civil Procedure sections 170.6 or 170.3;

16            ii)    Bonds/Undertaking documents;

17            iii)   Trial and Evidentiary Hearing Exhibits

18            iv)    Any ex parte application that is filed concurrently with a new complaint including those

19                   that will be handled by a Writs and Receivers department in the Mosk courthouse; and

20            v)     Documents submitted conditionally under seal. The actual motion or application shall be

21                   electronically filed. A courtesy copy of the electronically filed motion or application to

22                   submit documents conditionally under seal must be provided with the documents

23                   submitted conditionally under seal.

24         b) Lodgments

25            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

26    paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.

27    //

28    //

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                                                                                            Exhibit A – Page 35
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 4 of 9 Page ID #:37
                                                                                                  2019-GEN-014-00




 1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

 2        Electronic filing service providers must obtain and manage registration information for persons
 3        and entities electronically filing with the court.

 4     6) TECHNICAL REQUIREMENTS

 5        a) Electronic documents must be electronically filed in PDF, text searchable format when

 6            technologically feasible without impairment of the document's image.

 7       b) The table of contents for any filing must be bookmarked.

 8       c) Electronic documents, including but not limited to, declarations, proofs of service, and

 9            exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

10            3.l l 10(f)(4). Electronic bookmarks must include links to the first page of each bookmarked

11            item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the

12            bookedmarked item and briefly describe the item.

13       d) Attachments to primary documents must be bookmarked. Examples include, but are not

14            limited to, the following:
15            i)    Depositions;
16           ii)    Declarations;
17           iii)   Exhibits (including exhibits to declarations);
18            iv)   Transcripts (including excerpts within transcripts);
19            v)    Points and Authorities;
20            vi)   Citations; and
21            vii) Supporting Briefs.
22       e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23            encouraged.
24        f) Accompanying Documents
25            Each document acompanying a single pleading must be electronically filed as a separate
26            digital PDF document.
27        g) Multiple Documents
28            Multiple documents relating to one case can be uploaded in one envelope transaction.
                                                                                           Exhibit A – Page 36
                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 5 of 9 Page ID #:38
                                                                                                  2019-GEN-014-00




 1        h) Writs and Abstracts

 2           Writs and Abstracts must be submitted as a separate electronic envelope.
 3        i) Sealed Documents

 4           If and when a judicial officer orders documents to be filed under seal, those documents must be

 5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating

 6           the documents as sealed at the time of electronic submission is the submitting party's

 7           responsibility.
 8       j) Redaction

 9           Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to

10           redact confidential information (such as using initials for names of minors, using the last four

11           digits of a social security number, and using the year for date of birth) so that the information
12           shall not be publicly displayed.

13     7) ELECTRONIC FILING SCHEDULE
14        a) Filed Date

15           i) Any document received electronically by the court between 12:00 am and 11 :59:59 pm
16               shall be deemed to have been effectively filed on that court day if accepted for filing. Any

17               document received electronically on a non-court day, is deemed to have been effectively
18               filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19               Civ. Proc.§ 1010.6(b)(3).)

20           ii) Notwithstanding any other provision of this order, if a digital document is not filed in due

21               course because of: (1) an interruption in service; (2) a transmission error that is not the

22               fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may

23               order, either on its own motion or by noticed motion submitted with a declaration for Court

24               consideration, that the document be deemed filed and/or that the document's filing date

25               conform to the attempted transmission date.

26     8) EX PARTE APPLICATIONS

27        a) Ex parte applications and all documents in support thereof must be electronically filed no later
28           than 10:00 a.m. the court day before the ex parte hearing.
                                                                                            Exhibit A – Page 37
                                                              5
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 6 of 9 Page ID #:39
                                                                                                2019-GEN-014-00




 1        b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the

 2            day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

 3            application must be provided to the court the day of the ex parte hearing.
 4     9) PRINTED COURTESY COPIES
 5        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
 7            the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
 8           by 10:00 a.m. the next business day.
 9       b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10           electronic submission) is required for the following documents:
11            i)   Any printed document required pursuant to a Standing or General Order;
12           ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                 pages or more;
14          iii)   Pleadings and motions that include points and authorities;
15          iv)    Demurrers;
16           v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)    Motions for Summary Judgment/Adjudication; and
18          vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20           additional documents. Courtroom specific courtesy copy guidelines can be found at
21           www.lacourt.org on the Civil webpage under "Courtroom Information."
22     0) WAIYER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23        a) Fees and costs associated with electronic filing must be waived for any litigant who has
24           received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.§
25            1010.6(d)(2).)
26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27            section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28            electronically filed in any authorized action or proceeding.
                                                                                           Exhibit A – Page 38
                                                         6
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 7 of 9 Page ID #:40
                                                                                                  2019-GEN-014-00




 1     1) SIGNATURES ON ELECTRONIC FILING

 2        For purposes of this General Order, all electronic filings must be in compliance with California

 3        Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

 4        Division of the Los Angeles County Superior Court.

 5

 6            This First Amended General Order supersedes any previous order related to electronic filing,

 7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

 8     Supervising Judge and/or Presiding Judge.

 9

10     DATED: May 3, 2019

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                                                            Presiding Judge
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                                                                                           Exhibit A – Page 39
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
    Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 8 of 9 Page ID #:41


                           Superior Court of California, County of Los Angeles



                               ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                      INFORMATION PACKAGE

   THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

   CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action with the
   cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
    •    Saves Time: ADR is faster than going to trial.
    •    Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
    •    Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    •    Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or on line.

Disadvantages of ADR
    •    Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •    No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
         a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2.   Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
         strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
         acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                      •   want to work out a solution but need help from a neutral person.
                      •   have communication problems or strong emotions that interfere with resolution.

                 Mediation may not be appropriate when the parties
                      •   want a public trial and want a judge or jury to decide the outcome.
                      •   lack equal bargaining power or have a history of physical/emotional abuse.




LASC CIV 271 Rev. 03/23                                                                                             Page 1 of 2
For Mandatory Use
                                                                                                     Exhibit A – Page 40
Case 2:24-cv-05712-FLA-SSC Document 1-6 Filed 07/08/24 Page 9 of 9 Page ID #:42


                              How to Arrange Mediation in Los Angeles County

   Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

       a. The Civil Mediation Vendor Resource List
            If all parties in an active civil case agree to mediation, they may contact these organizations to
            request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
            cases).

            •   ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
                (213) 683-1600
            •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
                (833) 476-9145

            These organizations cannot accept every case and they may decline cases at their discretion.
            They may offer online mediation by video conference for cases they accept. Before contacting
            these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

            NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
            or small claims cases.

       b.   Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
            mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
            harassment, and limited civil (collections and non-collection) cases.
            https:// dcba. lacou nty .gov/cou ntywided rp/

            Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
            should carefully review the Notice and other information they may receive about (ODR)
            requirements for their case. https://my.lacourt.org/odr/

       c.   Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

  3.   Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
       arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
       decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial
       after the arbitrator's decision. For more information about arbitration, visit
       https://www.courts.ca .gov/programs-ad r. htm

  4.   Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
       to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
       settlement officer who does not make a decision but who instead assists the parties in evaluating
       the strengths and weaknesses of the case and in negotiating a settlement. For information about
       the Court's MSC programs for civil cases, visit https://www.lacourt.org/division/civil/CI0047.aspx

  Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/CI0109.aspx
  For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




  LASC CIV 271 Rev. 03/23                                                                              Page 2 of 2
  For Mandatory Use
                                                                                                 Exhibit A – Page 41
